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                                   STATEMENT OF FACTS

        Your affiant, Clarke Burns, is a Special Agent with the Federal Bureau of Investigation
(FBI), currently assigned to the Washington Field Office. In my duties as a Special Agent, I
investigate domestic terrorism violations and other threats of violent crime. Currently, I am tasked
with investigating criminal activity in and around the United States Capitol grounds on January 6,
2021. As a Special Agent, I am authorized by law or by a Government agency to engage in or
supervise the prevention, detection, investigation, or prosecution of a violation of Federal criminal
laws.

       The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification are allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the U.S.
Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session, elected
members of the United States House of Representatives and the United States Senate were meeting
in separate chambers of the United States Capitol to certify the vote count of the Electoral College
of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint session
began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the House and
Senate adjourned to separate chambers to resolve a particular objection. Vice President Mike
Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol
Police attempted to maintain order and keep the crowd from entering the Capitol; however, around
2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m., members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.




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        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

               Evidence Linking TREVOR BROWN to Assault on the U.S. Capitol

        As described in more detail below, on or about January 6, 2021, at approximately 4:11
p.m., law enforcement officers positioned in the lower west terrace entrance of the Capitol building
apprehended Trevor Brown (“BROWN”), who was at the front of a crowd of rioters trying to push
their way into the Capitol building. The officers placed BROWN in zip-tie handcuffs, escorted
him through the Capitol building into a police vehicle, and transported him to a police station to
process his arrest. During processing, BROWN confirmed his identity as Trevor Brown from
Novi, Michigan. BROWN was released later that evening without any charges filed.

        Additionally, between in or around January 2021 and May 2021, the FBI received at least
three tips from individuals who observed videos on Facebook that indicated that Trevor Brown
(“BROWN”) was involved in the U.S. Capitol riot on January 6, 2021. The individuals asserted
that BROWN was using a Facebook account page with the name “Trevor Brown” to post videos
and photos showing BROWN’s participation in the riots at the U.S. Capitol on January 6, 2021.
The homepage of the “Trevor Brown” Facebook account showed a photo of an individual that law
enforcement later identified as BROWN at the riot in Washington, D.C. on January 6, 2021. The
background image was a photo of the Capitol building on January 6, 2021. The homepage also
identified BROWN’s Instagram account as “TrevaaBrown.” A screenshot of the “Trevor Brown”
Facebook page is shown below.




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        Other screenshots from the “Trevor Brown” Facebook account and the “TrevaaBrown”
Instagram account include posts indicating his participation in the riots, including breaching the
Capitol building. One post made on the evening of January 6, 2021, stated, “The world is a stage
& Jiu jitsu saved my life many times tonight.” Another screenshot of a video taken from inside
the Capitol’s lower west terrace posted to the “TrevaaBrown” Instagram account has the caption,
“I May or May not know who’s on the PA screaming ‘HEEVE HO.’” A Facebook post made by
“Trevor Brown” on January 7, 2021, states: “We the people need one more solid rally like this and
CONgress will be forced to bow and be thrown out for not representing the will of the people and
charged with crimes against humanity.” Another Facebook post by “Trevor Brown” made at 1:53
AM on January 7, 2021, stated, in part, the following:

               This has nothing to do with Trump or Biden.

               People should be storming that Brothel we call the Capitol everyday
               for what goes on in there. It’s a Brothel and they sell you out
               everyday. Everyday. And putting any sort of credibility on
               anything those whores do in the full Congress is just stupidity. And
               that is the fault of the leadership on both sides.

                                               ....

               We should have cleaned that brothel out a long time ago.

                                               ....

               Today people are doing the right thing for those wrong reasons. It
               needs to get stormed every time they sell us out to some industry.

               Hopefully this is a trend that WILL start to bring change in there.
               They should know people won’t sit still for their whoring and selling
               us all down the river.

               Today th[e]se elitist creeps are getting the same thing we live with
               everyday, fear for their own safety.

                                               ....

               The whole whore house needs to be cleaned out.

A sampling of the screenshots are shown below.




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       Three other screenshots from the “Trevor Brown” Facebook account indicate that BROWN
entered the Capitol building. One post stated, “Who knew the first time I’d go to DC I’d be
storming the Capitol. – and make it in….” Another post stated, “I made it into the Capitol. I
almost died getting in but I made it.” A third stated, “I am the First person to breech the White
House in 200 years . . . moments before.” Screenshots of these posts are shown below.




       Law enforcement lawfully obtained records from Facebook and Instagram for the “Trevor
Brown” Facebook account and “TrevaaBrown” Instagram account, which confirmed that BROWN
was the registered subscriber for both accounts. His address associated with the accounts was in
Michigan. Your affiant compared BROWN’s Michigan driver’s license photo with the photo of
the individual on the homepage of the “Trevor Brown” Facebook account and based on the

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similarities of the photo determined the individual on the Facebook account to be a positive match
with BROWN’s driver’s license photo.

        Contained within BROWN’s social media records were posts he made prior to January 6,
2021, indicating his dissatisfaction with the election and the U.S. government. For example, on
or about November 19, 2020, BROWN posted the following comment to a Facebook post: “but
didn’t the democrats claim that Russia ‘Rigged’ his last election? but u dont think democrats arent
capable? this whole election has been the biggest shit show in the world.” Additionally, on or
about December 8, 2020, BROWN commented the following on another Facebook post: “The only
path to normalcy is over throwing the dictators. We compiled with the shutdowns. now its masks,
now its vaccines. it won’t stop. they are manipulating.” On or about December 12, 2020, he
posted a photo of George Washington with words encouraging Americans should “take back your
government!” The post is shown below.




        Also contained with BROWN’s social media files was a video, which appears to be taken
by BROWN from outside the lower west terrace entrance to the Capitol building. The video pans
the crowd outside of the Capitol, and then the video image flips and BROWN appears shouting,
“We are one!” In the video, BROWN is wearing a black baseball cap with an American flag on
the front, a black hood pulled up over the cap, and what was later determined to be a white hooded
sweatshirt worn over the black hoodie. Screenshots of the video are shown below.




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        Throughout the course of the FBI’s investigation, your affiant has reviewed numerous
videos obtained from the Internet, social media, the press, and the cell phones of individuals who
were at the Capitol on January 6, 2021. One video in particular obtained from an individual who
was recording events at the Capitol on January 6, 2021 shows BROWN outside the lower west
terrace tunnel of the Capitol with a large crowd trying to push its way into the tunnel. At this time
in the video, the lower west terrace tunnel was being guarded by both Capitol police officers and
a detachment of Metropolitan Police (“MPD”) officers. Some of the officers were wearing riot
gear, and the officers in the front were holding riot shields. At various times in the video, the
crowd shifts its momentum back and forth in unison and shouts, “Heave! Ho!” as they attempt to
push through the police officers in the lower west terrace tunnel.

         BROWN is initially seen approximately 12 rows of people back from the entrance of the
lower west terrace tunnel. He is wearing the same black baseball cap, black hood over the cap,
and white hooded sweatshirt as seen in the photos above. He is also wearing sunglasses. BROWN
is also seen holding and using a bullhorn. As the video progresses, BROWN pushes his way closer
to the entrance of the tunnel and makes his way to approximately three or four rows of people back
from the tunnel entrance. At this point, his black hoodie is down and his baseball cap, which has
a white back, is turned backwards. While he is in this position, the video shows various rioters at
the tunnel entrance attempting to dive into the tunnel, punching the police officers, and throwing
objects at the police officers. The video also shows a group of rioters passing a large flagpole up
to the front and jamming it into the tunnel where the police officers were positioned. At least one
other rioter is seen spraying a liquid from a canister into the tunnel, and another rioter is seen
assaulting the police officers with a stick. One rioter swings from the top of the tunnel entrance
and kicks the police officers. BROWN is seen shouting into the bullhorn as the crowd continues
to push into the tunnel and assault the police officers. Towards the end of the video, BROWN is
observed at the front of the crowd, just one or two rows of people back from the tunnel entrance,
and then is observed pushing his way to the very front of the crowd trying to gain access to the
tunnel. Screenshots from the video are shown below. BROWN is circled in red.




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         Law enforcement also collected and reviewed video provided by the U.S. Capitol Police,
which includes security camera footage taken from inside the lower west terrace looking out
towards where the rioters were trying to push their way in. While reviewing this footage, your
affiant observed that at approximately 3:57 p.m., an individual who appears to be BROWN made
his way to the front of the lower west terrace entranceway up against the riot shields of the MPD
officers, and he appears at times shouting into his bullhorn. At approximately the same time, other
rioters are seen assaulting the MPD officers and attempting to pull away the MPD officers’ riot
shields and batons. At one point in the video, BROWN appears to make a hand signal to another
rioter in front of him indicating that he wanted something handed back to him. Shortly after, a riot
shield, which appears to have been pulled away by the rioters in front of BROWN is pulled back
toward BROWN. As the shield moves closer to BROWN, BROWN reaches his hand out to grab
the shield. As this shield is being held up, two rioters who were hanging by from the top of the
tunnel entrance step onto the shield. Screenshots from the security video are shown below.
BROWN is circled in red.




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       As the assaults on the MPD officers increase in intensity, BROWN continues to make his
way further into the entrance. At approximately 4:11 p.m., officers apprehended BROWN, placed
him in zip-tie handcuffs, escorted him through the Capitol building into a police vehicle, and
transported him to a police station to process his arrest. During processing, BROWN confirmed
his identity as Trevor Brown from Novi, Michigan. BROWN was released later that evening
without any charges filed.

       Based on the aforementioned evidence, there is probable cause to believe BROWN was
present on U.S. Capitol grounds, forced his way into the lower west terrace tunnel of the U.S.
Capitol building, and committed related offenses, including the obstruction of Congressional
proceedings at the U.S. Capitol building, located at First Street, NW, Washington, D.C. 20510 on
January 6, 2021.

        Therefore, your affiant submits there is probable cause to believe that BROWN violated
18 U.S.C. § 231(a)(3), which makes it unlawful to commit or attempt to commit any act to obstruct,
impede, or interfere with any fireman or law enforcement officer lawfully engaged in the lawful
performance of his official duties incident to and during the commission of a civil disorder which
in any way or degree obstructs, delays, or adversely affects commerce or the movement of any
article or commodity in commerce or the conduct or performance of any federally protected
function. For the purposes of Section 231 of Title 18, a federally protected function means any
function, operation, or action carried out, under the laws of the United States, by any department,
agency, or instrumentality of the United States or by an officer or employee thereof. This includes
the Joint Session of Congress where the Senate and House count Electoral College votes.




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         Your affiant submits that there is also probable cause to believe that BROWN violated 18
U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1) knowingly enter or remain in any
restricted building or grounds without lawful authority to do so; and (2) knowingly, and with intent
to impede or disrupt the orderly conduct of Government business or official functions, engage in
disorderly or disruptive conduct in, or within such proximity to, any restricted building or grounds
when, or so that, such conduct, in fact, impedes or disrupts the orderly conduct of Government
business or official functions; or attempts or conspires to do so. For purposes of Section 1752 of
Title 18, a “restricted building” includes a posted, cordoned off, or otherwise restricted area of a
building or grounds where the President or other person protected by the Secret Service, including
the Vice President, is or will be temporarily visiting; or any building or grounds so restricted in
conjunction with an event designated as a special event of national significance.

        Finally, your affiant submits there is probable cause to believe that BROWN violated 40
U.S.C. § 5104(e)(2)(D) and (G), which makes it a crime to willfully and knowingly (D) utter loud,
threatening, or abusive language, or engage in disorderly or disruptive conduct, at any place in the
Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or disturb the orderly
conduct of a session of Congress or either House of Congress, or the orderly conduct in that
building of a hearing before, or any deliberations of, a committee of Congress or either House of
Congress; and (G) parade, demonstrate, or picket in any of the Capitol Buildings.




                                                      Clarke Burns
                                                      Special Agent, FBI

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1
by telephone, this 25th day of June 2021.
                                                                           Digitally signed by G.
                                                                           Michael Harvey
                                                                           Date: 2021.06.25
                                                                           10:59:07 -04'00'
                                                      G. MICHAEL HARVEY
                                                      U.S. MAGISTRATE JUDGE




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